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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


UNITED STATES OF AMERICA,                      )
                                               )
       Plaintiff,                              )
                                               )
               v.                              )    Case No. 4:11-CV-00077-RWS
                                               )
AMEREN MISSOURI,                               )
                                               )
      Defendant.                               )
____________________________________

             NOTICE OF WAIVER OF DEMAND FOR CIVIL PENALTIES
            IN THIS PENDING CLEAN AIR ACT ENFORCEMENT ACTION

       Plaintiff United States of America, acting on behalf of the United State Environmental

Protection Agency, hereby gives notice that it will not seek civil penalties against Defendant

Ameren Missouri (“Defendant”) for violations of the foregoing at its Rush Island coal-fired

power plant located in Festus, Missouri: (a) the New Source Review (“NSR”), Prevention of

Significant Deterioration (“PSD”) provisions of the CAA, 42 U.S.C. §§ 7470-92 and applicable

implementing regulations; (b) the federally approved and enforceable Missouri State

Implementation Plan (“Missouri SIP”); (c) Title V of the Act, 42 U.S.C. §§ 7661-7661f; (d)

federal regulations implementing Title V of the Act at 40 C.F.R. Part 70; and (d) Missouri’s

federally approved Title V program, 10 C.S.R. 10-6.065. During the remedy phase and in all

other phases of this action, Plaintiff United States will seek only equitable and injunctive relief

from the Court to redress the foregoing Clean Air Act violations. The United States will not seek

and hereby waives its demand for civil penalties as referenced in Paragraphs 1, 54, 69, 74, 83, 92

and in Paragraph 7 of the Prayer for Relief in the Third Amended Complaint (ECF No. 249) for

the Clean Air Act violations alleged in the instant action at the Rush Island Plant.
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                                    Respectfully submitted,

                                    /s/_James W. Beers, Jr._____________
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       I hereby certify that on November 30, 2015, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system, which will cause an electronic copy to be
served on counsel of record.


                                                   /s/ James W. Beers, Jr. _______________
